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                   United States District Court
                     District of Massachusetts
________________________________
                                  )
BETTINA PASQUANTONIO, NICHOLAS    )
PASQUANTONIO, and NOVAROSE        )
PASQUANTONIO, by her father and )
next friend, NICHOLAS             )    Civil Action No.
PASQUANTONIO,                     )    11-10767-NMG
          Plaintiffs,             )
                                  )
          v.                      )
                                  )
KAREN J. POLEY, M.D., ANJAN K.    )
CHAUDHURY, M.D., CHRISTINE A.     )
PENSO, M.D., and STEWARD HEALTH )
CARE SYSTEM LLC,                  )
          Defendants.             )
________________________________ )

                           MEMORANDUM & ORDER

GORTON, J.

     Plaintiffs Nicholas and Bettina Pasquantonio, and Novarose

Pasquantonio (“N.P.”) by her father (collectively, “the

plaintiffs”) bring suit against Doctors Karen J. Poley (“Dr.

Poley”), Anjan K. Chaudhury (“Dr. Chaudhury”) and Christine A.

Penso (“Dr. Penso”) for alleged violations of the standards of

prenatal care.   The complaint contains counts for negligence and

failure to obtain, or violation of, informed consent, against

each doctor and counts against Steward Health Care System LLC

(“Steward Health”) for vicarious liability.        Currently before the

Court is the defendants’ joint motion to dismiss and plaintiffs’

motion for referral to a medical malpractice tribunal.



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I.    Factual Background

      Plaintiffs’ claims arise from the allegedly negligent

obstetrical (“OB”) prenatal care the defendant doctors provided

to Bettina Pasquantonio during her pregnancy with N.P.

Plaintiffs contend that the doctors’ failure to adhere to

accepted medical standards left them entirely unaware that N.P.

was at a significant risk of being born with Down’s syndrome.

The doctors allegedly failed to offer genetic counseling or to

provide accurate information concerning the risk that her fetus

would have Down’s syndrome.         Plaintiffs contend that, as a

result, the pregnancy was not terminated and plaintiffs must now

pay the prohibitive medical and living costs N.P.’s condition

requires.      Plaintiffs therefore seek monetary damages to be

determined by a jury, plus interest and costs.

II.   Procedural History

      Plaintiffs filed a complaint with the Massachusetts Superior

Court for Suffolk County in September, 2010.            That case is

currently pending.       See Bettina Pasquantonio et al. v. Karen J.

Poley, M.D. et al., Civ. No. 2010-03775-E.

      Approximately eight months later, on May 2, 2011, the same

plaintiffs filed a substantially identical complaint with this

Court, asserting diversity jurisdiction under 28 U.S.C. § 1332.1


      1
       Although the state court complaint did not originally
name Steward Health as a party, plaintiffs added that entity in
their Substituted and Amended Complaint filed with the state

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Plaintiffs served the complaint on the defendants in August,

2011, and defendants responded in September, 2011, by filing a

joint motion to dismiss the complaint or, in the alternative, to

stay the action pending the outcome of the parallel state action.

Plaintiffs have opposed that motion and have filed a motion for

referral to a Medical Malpractice Tribunal.

     After a scheduling conference was held on October 27, 2011,

the Court took defendants’ motion to dismiss under advisement.

Defendant Steward has since filed a supplemental memorandum in

support of its motion to dismiss to which plaintiffs have filed

an opposition.

III. Analysis

     A.   Legal Standard

     Federal courts have a “virtually unflagging obligation ...

to exercise the jurisdiction given them.”       Moses H. Cone Memorial

Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 15 (1983).         Thus, as

a general rule, “the pendency of an action in the state court is

no bar to proceedings concerning the same matter in the Federal

court having jurisdiction.”     Id.   Nonetheless, the Supreme Court

in Colorado River held that abstention may be warranted where

considerations of “wise judicial administration” strongly counsel

against duplicative state and federal lawsuits.        Colorado River



court approximately one week after the federal complaint was
filed.

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Water Conservation Dist. v. United States, 424 U.S. 800, 817

(1976) (internal quotation omitted).      The Court emphasized,

however, that this form of deference is very limited and only

appropriate in “extraordinary” circumstances.        See id.; see also

Currie v. Grp. Ins. Comm’n, 290 F.3d 1, 10 (1st Cir. 2002).

     The First Circuit, drawing on Colorado River and its

progeny, considers the following factors in determining whether

extraordinary circumstances exist:

     (1) whether either court has assumed jurisdiction over a
     res; (2) the [geographical] inconvenience of the federal
     forum; (3) the desirability of avoiding piecemeal
     litigation; (4) the order in which the forums obtained
     jurisdiction; (5) whether state or federal law controls;
     (6) the adequacy of the state forum to protect the
     parties' interests; (7) the vexatious or contrived nature
     of the federal claim; and (8) respect for the principles
     underlying removal jurisdiction.

Jimenez v. Rodriguez-Pagan, 597 F.3d 18, 28 (1st Cir. 2010)

(citation omitted).    The subject list is not exhaustive and no

single factor is dispositive.     Id.   Rather, the Court must

carefully balance each factor while remaining mindful of the

presumption in favor of exercising jurisdiction.        See id.

     B.   Application

     In this case, the state and federal lawsuits involve

identical parties and identical claims.       Defendants argue that

the federal suit should be dismissed or stayed because it is

entirely duplicative of the first-filed state action and turns

entirely on state law.    They contend that litigating the same


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action in both federal and state court is an unnecessary and

inequitable imposition on their time and resources.

     Plaintiffs respond that the circumstances weigh heavily in

favor of this Court exercising jurisdiction.           Additionally, they

contend that the case should remain in federal court so that two

unresolved issues of state law implicated by their claims may be

certified to the Massachusetts Supreme Judicial Court (“the

SJC”).2    By retaining jurisdiction and employing the

certification procedure, they assert, this Court will achieve a

timelier and more efficient resolution of the case which is

therefore preferable to an adjudication by the state court.

     This Court concludes, to the contrary, that this case

presents exceptional circumstances warranting a dismissal.

Certain of the Colorado River factors have little bearing on this

case: there is no res at issue (factor one), the federal forum is

equally convenient to the state forum (factor two) and the state

forum is adequate to protect the parties’ interests (factor six).

Moreover, the fact that the state forum obtained jurisdiction

prior to the federal forum (implicating factor four) weighs only


     2
      A federal district court may exercise its discretion to
certify a question of Massachusetts state law to the Supreme
Judicial Court if the question

     may be determinative of the cause then pending in the
     certifying court and as to which it appears to the
     certifying court there is no controlling precedent....

Mass. S.J.C. Rule 1:03, § 1 (2010).

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mildly in favor of abstention because the two suits are at

roughly the same stage.    See Jimenez, 597 F.3d at 30 (“[T]he

relative progress of the suits is more important than the strict

order in which the courts obtained jurisdiction.”).         The

remaining factors, however, weigh strongly in favor of

abstention.

     The eighth factor requires courts to consider the principles

underlying removal jurisdiction to determine whether surrendering

jurisdiction is appropriate in a given case.        See, e.g., Villa

Marina Yacht Sales, Inc. v. Hatteras Yachts, 915 F.2d 7, 14 (1st

Cir. 1990).   That factor strongly favors abstention in this case,

where the plaintiffs have, in effect, removed the original suit

to federal court by filing a later, duplicative federal suit

against the same defendants.     See id.; see also Fairway Capital

Corp., 483 F.3d at 44.    Such a dual filing runs contrary to the

intent of Congress that it be a defendant’s prerogative (not

plaintiff’s) to remove a case from state court to federal court

under 28 U.S.C. § 1441.    See Villa Marina, 915 F.2d at 14.

Furthermore, concerns for equity and prudent judicial

administration strongly counsel requiring a plaintiff to abide by

his original choice of forum.

     Moreover, the Court finds plaintiffs’ certification argument

particularly underwhelming.     They initiated the suit in state

court and then, apparently displeased with the pace and the


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perceived stagnation of the case, filed an identical suit with

this Court.    Plaintiffs are essentially seeking to exploit the

federal system as a means of bypassing slower state proceedings

and achieving a more expedient, final state court decision on

issues of unresolved state law.        This Court declines to endorse

such a tactic where the case 1) was filed first in state court,

2) implicates only state law issues and 3) has not substantively

progressed in federal court.       Indeed, plaintiffs’ conduct does

border on vexatious and contrived, implicating factor seven.            The

Court rejects plaintiffs’ attempt to elude prescribed state court

procedure simply because it suits their objective.

     Plaintiffs’ certification arguments are also inimical to the

third and fifth factors in the Colorado River analysis.           The

fifth factor, whether state or federal law controls the federal

suit,   favors dismissal “when a case presents complex questions

of state law that would best be resolved by a state court.”

Villa Marina, 915 F.2d at 15 (internal quotation omitted); see

also Jimenez, 597 F.3d at 30 (“[A]bstention may be preferable

when the parties’ claims present particularly novel, unusual or

difficult questions of legal interpretation.”).          Here, plaintiffs

contend that unresolved and controlling issues of state law are

implicated by their complaint, including whether 1) Massachusetts

law recognizes a cause of action for negligent post-conception

genetic counseling, 2) a child born as a result of that lack of


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counseling has an independent cause of action and 3) the

charitable limitation on liability will apply to plaintiffs’

claims against defendant Steward Health.

     For the reasons stated above, the Court demurs to

plaintiffs’ proposition that the possibility of certifying these

issues to the SJC somehow favors retention of jurisdiction by

this federal court.    It concludes, instead, that the presence of

such unresolved issues, which implicate state policy, calls for a

contrary result.    Those issues are currently pending before the

state court where they ought to be decided.        See Currie v. Grp.

Ins. Comm’n, 290 F.3d 1, 11 (1st Cir. 2002) (staying federal

proceeding where state law was not clear and court was unsure how

the state would balance the important policy interests

implicated).

     For related reasons, the third factor, which requires the

Court to consider whether there is a risk of piecemeal litigation

that could be avoided by surrendering jurisdiction, also favors

abstention.    Here, more than a mere duplication of effort is

present because the suit implicates unresolved and controlling

issues of state law.    See, e.g., United States v. Fariway Capital

Corp., 483 F.3d 34, 42 (1st Cir. 2007) (“[A] risk of piecemeal

litigation arises when a ruling from the state court would render

[a federal decision] merely advisory.”); Rivera-Feliciano v.

Acevedo-Vila, 438 F.3d 50, 62 (1st Cir. 2006) (opting to avoid


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piecemeal litigation by having Puerto Rico courts decide the many

unresolved and controlling issues of Puerto Rico law first).

Those unresolved issues provide an exceptional basis for avoiding

duplicative actions due to a potential for conflicting results.

This Court eschews an interpretation of sensitive and unsettled

state law while the state court is currently poised to address

the issue.

     In sum, the Court concludes that this is a unique case where

considerations of “wise judicial administration” strongly counsel

against the coexistence of identical state and federal lawsuits

and in favor of deference to the state proceedings.         It will

therefore allow defendants’ motion and dismiss plaintiffs’

complaint.

                                 ORDER

     In accordance with the foregoing, defendants’ joint motion

to dismiss or stay is ALLOWED.     Plaintiffs’ complaint is

dismissed.



So ordered.

                                  /s/ Nathaniel M. Gorton
                                 Nathaniel M. Gorton
                                 United States District Judge

Dated December 6, 2011




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